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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                      Plaintiff,                        Case Number: 99-80714

v.                                                      JUDGE PAUL D. BORMAN
                                                        UNITED STATES DISTRICT COURT
SYLVESTER SMITH,

                  Defendant.
___________________________________ /

     ORDER DENYING DEFENDANT’S MOTION TO DISMISS INDICTMENT (DOCK.
                                NO. 70)

        Now before the Court is Defendant’s Motion to Dismiss Indictment Because United

States District Court Lacked Jurisdiction to Try this Case (Dock No. 70).

        On March 21, 2000, Defendant plead guilty to Count IV of the indictment, Distribution

of Cocaine Base. Subsequent to that plea, on January 3, 2007, Defendant filed the instant

Motion to Dismiss the Indictment. In his motion, Defendant argues that the district court lacked

jurisdiction because the offenses were committed within the jurisdiction of the State of

Michigan. Defendant contends that his case should have been prosecuted by the State of

Michigan.

        Having considered the entire record, the Court DENIES Defendant’s motion as frivolous.

SO ORDERED.

                                             s/Paul D. Borman
                                             PAUL D. BORMAN
                                             UNITED STATES DISTRICT JUDGE

Dated: May 25, 2007


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                                CERTIFICATE OF SERVICE

Copies of this Order were served on the attorneys of record by electronic means or U.S. Mail on
May 25, 2007.


                                            s/Denise Goodine
                                            Case Manager




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